IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: July 01, 2019.

                                                     ________________________________________
                                                                CRAIG A. GARGOTTA
                                                        UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________

                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

IN RE:                                           §      CHAPTER 7
                                                 §
DONNA SHUTE PROVENCHER,                          §      CASE NO. 19-50339-CAG
                                                 §
                     Debtor.                     §


JOSEPH MAZZARA,                                  §
                                                 §
       Plaintiff                                 §
                                                 §
vs.                                              §      ADVERSARY NO. 19-05026
                                                 §
DONNA SHUTE PROVENCHER,                          §
                                                 §
       Defendant                                 §


              AGREED ORDER GRANTING JOINT MOTION TO ABATE
                               ADVERSARY PROCEEDING
       On this day came on to be considered the Joint Motion to Abate Adversary Proceeding

filed by Joseph Mazzara, Plaintiff and Donna Shute Provencher, Defendant (collectively, the




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“Parties”), and the Court, having considered the pleadings and arguments of counsel, is of the

opinion that said Motion should be in all things granted.

       IT IS THEREFORE ORDERED, ADJUDGED and DECREED that this matter shall be

abated including abatement of all deadlines until no sooner than twenty days after the Virginia

Litigation and related appeals, if any, have concluded. IT IS FURTHER ORDERED

       that the Parties shall file another motion with this Court requesting that the abatement be

lifted and that a new Scheduling Order be entered at such time.

                                               ###

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